                         CASE 0:12-cv-00977-MJD-JJG Doc. 36 Filed 07/03/13 Page 1 of 1
OAO450 (Rev. 5/85) Judgment in a Civil Case



                                         UNITED STATES DISTRICT COURT
                                                District of Minnesota

Sharay Price,

                                                           JUDGMENT IN A CIVIL CASE
                                   Plaintiff,

   V.
                                                                   Case Number: 12-0977 (MJD/JJG)
Hunter Warfield,

                                   Defendant.


    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
    has rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
  heard and a decision has been rendered.

    IT IS ORDERED AND ADJUDGED THAT:
    1. Plaintiff’s address of record is changed to 284 Petunia Terrace, Apartment 302, Sanford, Florida 32771;

    2. Defendant’s Motion to Dismiss for Lack of Prosecution (ECF No. 22) is GRANTED;

    3. This case is DISMISSED WITHOUT PREJUDICE; and

    4. JUDGMENT IS ENTERED ACCORDINGLY.


                               July 3, 2013                           RICHARD D. SLETTEN, CLERK
Date
                                                                                s/J. Zuech
                                                            (By)                      J. Zuech Deputy Clerk




         Form Modified: 09/16/04
